                   19-13895-jlg Doc 258-2 Filed 06/08/20 Entered 06/08/20 20:34:33                    Exhibit
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                   BY EFILING AND ELECTRONIC MAIL

                   The Honorable Barbara Jaffe
                   Supreme Court of the State of New York
                   County of New York
                   60 Centre Street
                   New York, New York 10007

                                          RE:    Genger, et al. v. Genger, et al.,
                                                 Index No. 651089/2010
                   Dear Justice Jaffe:

                           I write on behalf of the parties to the settlement agreement that was submitted
                   in camera to Your Honor yesterday, including Arie and Orly Genger and my clients,
                   the Trump Group. A material term of the agreement among the settling parties was
                   the dismissal of all claims presently pending against one another, in whatever
                   capacity they were brought. Certain of Orly Genger's claims against the Trump
                   Group in this action have been held by Justice Feinman to be derivative in nature,
                   brought by Orly on behalf of the Orly Genger 1993 Trust. (As I said on the call with
                   the Court yesterday, the Trump Group argued that Orly lacked standing to bring such
                   claims on behalf of the Orly Genger 1993 Trust, but Justice Feinman rejected our
                   arguments.) The language that was drafted during yesterday's conference call as a
                   potential "fix" for the issues raised by Mr. Dellaportas – that "nothing contained [in
                   the Order] shall in any way affect any derivative claims presently before the Court" -
                   - would have the effect of not dismissing Orly Genger's derivative claims against the
                   Trump Group, contrary to the agreement of the settling parties. Excluding such
                   claims from the claims that are to be dismissed is not what the Trump Group
                   bargained and paid for in the settlement, and as a consequence we cannot stipulate to
                   the entry of an order that includes such carve-out language. (I apologize to the Court
                   for not having affirmatively objected to this language during yesterday's call; though
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The Honorable Barbara Jaffe
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I did express concern about drafting language by committee on the telephone, I
needed to compare the terms of our settlement agreement to the proposed language
before the conflict between the two became apparent to me.)

         The Second Amended Stipulation and Order of Discontinuance with
Prejudice (Docket No. 471) (the "Stipulation and Order") that Ms. Wachtler
previously submitted was intended to reflect the agreement of the settling parties
regarding dismissal of all claims they have against one another and was agreed to by
all of the parties to that stipulation and order. The Trump Group cannot support or
stipulate to an order that does not effect a dismissal of all claims that the members of
the AG Group, including Orly Genger, have pending against my clients, and none of
the parties ever intended for the Trump Group to do that. For these reasons, we (and
all the settling parties) respectfully request that the Court enter the Stipulation and
Order previously submitted to the Court. Of course, nothing in the Stipulation and
Order precludes the Orly Trust from commencing a lawsuit for claims it may have
against any dismissed party or from pursuing claims in the action titled Dalia
Genger, as trustee of the Orly Genger 1993 Trust, v. TR Investors, LLC, et al., C.A.
No. 6906-CS (Del. Ch.).

       I am, of course, available at the Court's call should the Court have any
questions concerning this matter.


                                              Respectfully,


                                              /s/ Thomas J. Allingham II


                                              Thomas J. Allingham II


cc:     All Counsel of Record (by eFiling and Electronic Mail)




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